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CURTIS LAW GROUP

ATTORNEYS AT LAW

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Dina Y. Nam, Esq. #238920
CURTIS LAW GROUP

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Attorneys for Plaintiff,
NEW CENTURY MORTGAGE CORPORATION

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA

In re: Bankruptcy Case Number: 05-13544-JH7
Arthur H. Skola,
Chapter 7
Debtor
Assigned for all purposes to Judge John Hargrove

 

Adversary Case Number: 06-90115-JH

New Century Mortgage Corporation
NOTICE OF CHANGE OF ADDRESS
Plaintiff,

v.
Arthur H. Skola, dba Allegiance Financial
Services, Inc., and Allegiance Financial

Services, Inc,

Defendants.

 

 

TO THE COURT AND TO ALL PARTIES AND THEIR ATTORNEY(S) OF RECORD:
PLEASE TAKE NOTICE that effective immediately, Curtis Law Group’s new address

Will be as follows:

CURTIS LAW GROUP
19700 Fairchild Road, Suite 380
Irvine, CA 92612

The telephone and facsimile numbers remain the same.

 

 

NOTICE OF CHANGE OF ADDRESS

 

 

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Dated: May 8, 2006 CURTI LAW GROUP

   

 

R'obe{t J. Curtis, Esq.

Dina Y. Nam, Esq.

Attorneys for New Century Mortgage
Corporation

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CURTIS LAW GROUP

ATTQRNEYS Ar LAW NOTICE OF CHANGE OF ADDRESS

 

 

 

 

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1 PROOF OF SERVICE
2 I, the undersigned, hereby declare that l am over the age of eighteen years and a party to
the within action. My business address is 19700 Fairchild Road, Suite 380, Irvine, CA 92612.
3
4 On the date indicated below, l served the following document(s), which is (are) described
as follows:
5 - NOTICE OF CHANGE OF ADDRESS
6 on the parties or attorneys for parties in this action addressed as follows. (lf more than one means
7 of service is checked, the means of service used for each party is indicated.)
8 Arthur H. Skola
' 9320 Hazard Way, Ste A-1
9 San Diego, CA 92123
10 Micah Stowe
1 1 Allegiance Financial Services, Inc.
9320 Hazard Way, Ste A-l
12 San Diego, CA 92123
13 BY PERSONAL SERVICE. l caused a true and correct copy of the aforementioned
document(s) to be personally served by giving same to a representative of
14 , for same day service. A completed PROOF OF HAND
DELIVERY (CCP §§ 1011, 2015 .5) is to be returned to this office for filing with the
15 Courts as required.
16 BY FACSIMILE TRANSMISSION. l caused a true and correct facsimile machine
transmission to the facsimile number listed next to the above stated person(s)' name.
Upon completion of said facsimile transmission the transmitting machine issued a
17 transmission report showing the transaction was complete and without error.

18 _X_ BY MAIL. l placed a true and correct copy of the aforementioned document(s) in a
sealed envelope individually addressed to each of the parties and caused each such

 

 

19 envelope to be deposited with the U.S. Postal Service and/or picked up by an authorized
representative, on the same day with fees fully prepaid at Irvine, California, in the

20 ordinary course of business.

21 BY OVERNIGHT DELIVERY by placing a true and correct copy of the
aforementioned document(s) in a sealed FEDEX envelope with delivery fees paid or

22 provided for, in a designated area of outgoing mail, addressed as set forth above.

23 I declare under penalty of perjury that the foregoing is true and correct. Executed at

Irvine, California, on May 9, 2006

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CURTIS LAW GROUP
ATTQRNEY§ AT LAW NOTICE OF CHANGE OF ADDRESS

 

 

 

 

